    Case 23-11777-mdc           Doc 38-1 Filed 06/28/23 Entered 06/28/23 13:56:06                              Desc
                                  Certificate of Service Page 1 of 1



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                             Chapter 11
INT. ASSOC. OF SHEET METAL, AIR,
RAIL & TRANSPORTATION WORKERS,                               Case No. 23-11777 (mdc)
TRANSPORTATION DIV., LOCAL 1594, 1

                             Debtor.

                                     CERTIFICATION OF SERVICE

         I, Holly S. Miller, hereby certify that on this 28th day of June, 2023, a copy of the

foregoing Notice of Intention of the Debtor to Compensate Officers Pursuant to L.B.R. 4002-1

was served via First Class United States Mail, post-prepaid, upon the parties listed on the

attached service list.


Dated: June 28, 2023                                         GELLERT SCALI BUSENKELL & BROWN, LLC

                                                             /s/ Holly S. Miller
                                                             Holly S. Miller (No. 203979)
                                                             8 Penn Center
                                                             1628 John F. Kennedy Blvd, Suite 1901
                                                             Philadelphia, PA 19107
                                                             Telephone: (215) 238-0012
                                                             Email: hsmiller@gsbblaw.com

                                                             Proposed Counsel to the Debtor




1
  If applicable, the last four digits of the taxpayer identification number of the Debtor is 6853 and the Debtor’s
address is 6938 Market Street, Second Floor, Suite 3, Upper Darby, PA 19082.
